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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

In re:                                         )     Case No. 24-11552
                                               )
Berkshire Investments LLC,                     )     Chapter 11
                                               )
         Debtor.                               )     Honorable David D. Cleary
                                               )
Employer’s Tax Identification No.:             )     Hearing Date: August 14, 2024
XX-XXXXXXX                                     )
                                               )     Hearing Time: 11:00 a.m.

                            NOTICE OF EMERGENCY MOTION
TO: See attached list

       PLEASE TAKE NOTICE that on August 14, 2024 at 10:00 a.m., I will appear before the
Honorable David D. Cleary, or any judge sitting in that judge’s place, either in courtroom 644 of
the Evertt McKinley Dirksen United States Courthouse, 219 S. Dearborn Street, Chicago, Illinois
60604 or electronically as described below, and present Debtor’s Emergency Motion For
Order: (I) Authorizing (A) Secured Post-Petition Financing On A Super Priority Basis
Pursuant To 11 U.S.C. § 364, (B) Use Of Cash Collateral Pursuant To 11 U.S.C. § 363, And
(C) Grant Of Adequate Protection Pursuant To 11 U.S.C. §§ 363 And 364; (II) Scheduling A
Final Hearing Pursuant To Bankruptcy Rule 4001(C); And (III) Shortened And Limited
Notice Thereof, a copy of which is attached.
       Important: Only parties and their counsel may appear for presentment of the motion
electronically using Zoom for Government. All others must appear in person.

      To appear by Zoom using the internet, go to this link: https://www.zoomgov.com/.
Then enter the meeting ID and passcode.

       To appear by Zoom using a telephone, call Zoom for Government at 1-669-254-5252 or
1-646-828-7666. Then enter the meeting ID and passcode.

        Meeting ID and passcode. The meeting ID for this hearing is 161 122 6457, and the
passcode is Cleary644. The meeting ID and passcode can also be found on the judge’s page on the
court’s web site.

        In addition to other grounds for opposing the motion, you may oppose the motion on the
basis that emergency treatment is not appropriate.
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                                            Berkshire Investments, LLC

                                            By: /s/ Steven R. Jakubowski



Steven R. Jakubowski, #6191960
Robert E. Harig, #6210983
Julia Jensen Smolka, #6272466
Carolina Y. Sales, #6287277
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                                    CERTIFICATE OF SERVICE

        The undersigned, a non-attorney, hereby certifies pursuant to 28 U.S.C. §1746 that by 6:30
p.m. on the 12th day of August 2024, she caused to be served upon the persons list listed below,
via the court’s CM/ECF system and via electronic mail, a copy Debtor’s Emergency Motion For
Order: (I) Authorizing (A) Secured Post-Petition Financing On A Super Priority Basis
Pursuant To 11 U.S.C. § 364, (B) Use Of Cash Collateral Pursuant To 11 U.S.C. § 363, And
(C) Grant Of Adequate Protection Pursuant To 11 U.S.C. §§ 363 And 364; (II) Scheduling A
Final Hearing Pursuant To Bankruptcy Rule 4001(C); And (III) Shortened And Limited
Notice Thereof, and this notice.

                                                                   /s/ Jenna Tronina

                                              Service List

Via ECF

Patrick S Layng                                     Constellation New Energy
USTPRegion11.ES.ECF@usdoj.gov                       Anthony.A.Wittrock@constellation.com

Brian A. Audette                                    Dormakaba
baudette@perkinscoie.com                            Email: dkap.us.amer@dormakaba.com

William J. Factor                                   Framingham Salvage Co.
wfactor@wfactorlaw.com                              Email: Scrapplebaum@gmail.com

Via 20 Largest Creditors via Email                  Imperial Zinc Corp.
                                                    Email: jay@imperialzinc.com
AM Industrial Group, LLC
Email: reg.wyman@amindustrialgroup.com              Intrametco
                                                    Email: neil@intrmetco.com
Capital Metals
Email: bhorwitz@bhlfattorneys.com                   JP Wire & Metals
                                                    dba Shapiro Recycle
Carolina Metals Group                               Email: Justin@shapirorecycling.com
Email: Joe.Cerda@carolinametalsgroup.com                   Janet@shapirorecycling.com
                                                           bkasper@stark-stark.com
Cohen Brothers Inc.                                        Tonder@stark-stark.com
Email: PDober@cohenusa.com                                 gsmarziani@davismcgrath.com
       tbenne@cohenusa.com
                                                    Metalsco Inc.
Combined Metal                                      Email: linda@metalsco.com
Email: ndavy@combinedmetal.com
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Premier Metal Services LLC
Email: meisner@permiermetalservices.com
dneumann@meyersroman.com
cmackow@premiermetalservices.com

Resources Alloys
Email: richard@rmiint.com

Securitas Security Services USA-Inc
Email: Leonardo.Jimenez@securitasinc.com

UB Greensfelder, Hemker, Gale PC
Email: wanaya@greensfelder.com

Total Metal Recycling (Wieland)
Email: Jessica.Jackson@Wieland.com

WaterSaver Faucet Company
Email: hnguyen@wsflab.com

Thalheimer
Email: aparks@thalbro.com
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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

     In re:                                       )    Chapter 11
                                                  )
     Berkshire Investments LLC,                   )    Case No. 24-11552
                                                  )
                       Debtor.                    )    Honorable David D. Cleary
                                                  )

       EMERGENCY MOTION FOR ORDER (I) AUTHORIZING (A) SECURED
   POSTPETITION FINANCING ON A SUPER PRIORITY BASIS PURSUANT TO 11
 U.S.C. § 364, (B) USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363, AND
(C) GRANT OF ADEQUATE PROTECTION PURSUANT TO 11 U.S.C. §§ 363 AND 364;
 (II) SCHEDULING A FINAL HEARING PURSUANT TO FED. R. BANKR. P. 4001(C);
            AND (III) PERMITTING SHORTENED AND LIMITED NOTICE

              Berkshire Investments LLC, an Illinois corporation (“Berkshire” or the “Debtor”), by

    and through its undersigned proposed counsel, hereby moves (the “Motion”) for the entry of

    orders pursuant to Sections 105, 361, 363, 364, 506 and 507 of title 11 of the United States

    Bankruptcy Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) and Fed. R. Bankr. P.

    2002, 4001, and 9014 (1) authorizing the Debtor to incur post-petition secured financing (the

    “Post-Petition Financing”) under that certain “Secured Super-Priority Post-Petition Credit

    Agreement” (the “DIP Credit Agreement”) on an interim and final basis from NELI

    International Incorporated, a corporation formed under the laws of the Province of Ontario,

    Canada (“NELI” or the “Lender”); (2) authorizing the Debtor to use cash collateral; (3) granting

    adequate protection; (4) setting a final hearing on the Motion to consider the entry of a final

    order; and (5) shortening and limiting notice of the Motion. In support of the Motion, the Debtor

    respectfully states as follows: 1




1
      Capitalized terms used herein and not otherwise defined shall have the meanings set forth in
      the DIP Credit Agreement.
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I.       STATEMENT PERTAINING TO FED. R. BANKR. P. 4001 DISCLOSURES

         This Motion seeks authority for the Debtor to obtain interim and final post-petition asset-

based financing in the aggregate principal amount not to exceed $3,500,000 and on the terms and

conditions set forth in the DIP Credit Agreement. The Post-Petition Financing will bear interest at

an annual non-default rate equal to the Prime Rate in effect from time to time plus 1.75% per

annum, accruing daily and payable monthly. The Obligations owed the Lender under the DIP

Credit Agreement will be secured by liens on substantially all the assets of the Debtor. These liens

will be senior to the pre-existing liens in favor of (i) the Lender under its prepetition credit facility

with the Debtor and (ii) Tramec Sloan LLC, an affiliate of the contemplated stalking horse bidder,

whose liens are junior to those of the Lender. In addition, the Motion seeks authority to allow the

Debtor to use cash collateral and provide adequate protection to the Lender on account of its

prepetition senior secured liens on substantially all the Debtor’s assets.

         For ease of reference, the specific disclosures required for this Motion by Fed. R. Bankr.

P. 4001(c)(1)(B) and Bankr. N.D. Ill. L.R. 4001 are set forth in Section IV below.

II.      FACTUAL BACKGROUND

         1.      On August 8, 2024 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code, commencing the above-captioned chapter 11 case

(the “Chapter 11 Case”). Since the Petition Date, the Debtor has remained in possession of its

assets and has continued to operate its business as a Debtor in possession in accordance with

Sections 1107(a) and 1108 of the Bankruptcy Code.

         2.      Neither a trustee nor a committee of unsecured creditors has been appointed in the

Chapter 11 Case.




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        3.      The Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334. Venue

lies properly in this Court pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2)(A), (D), (K), (M) and (O). The Debtor consents to the entry of

a final order or judgment by the Court with respect to this Motion in the event it is determined that

the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution. The statutory predicates for

the relief requested herein are Sections 105, 361, 363, 364, 506 and 507 of the Bankruptcy Code.

A.      Background to the Debtor and Its Operations

        4.      The facts supporting this Motion, including the nature of the Debtor’s business

and the background to this chapter 11 case are set forth in that certain Declaration of Richard N.

Jenkins in Support of Chapter 11 Petitions and First-Day Motions filed concurrently herewith and

incorporated herein by reference (the “Jenkins Declaration”). The following is a summary of key

statements from the Jenkins Declaration relevant to this Motion.

        5.      The Debtor is a fully integrated brass mill located in Cicero, Illinois. The Debtor’s

predecessor (Chicago Extruded Metals Company) was founded in 1922 at its current location and

grew in size and volume over the years, shipping nearly 3,000,000 pounds of metal product per

month at its peak. The Debtor’s predecessor filed for bankruptcy in 2003 when margins were small,

competitors were many, and working capital was insufficient to sustain operations.

        6.      The Debtor currently produces standard and engineered brass and bronze alloys in

extruded rod, bar, and other profiles, including a variety of low lead brass, leaded brass, naval

brass, aluminum bronze, and silicon bronze alloys. Eighty percent of the Debtor’s manufactured

products use recycled materials. The Debtor’s engineering capabilities and deep metallurgical

experience enable it to manufacture these alloys to meet most customer requirements.



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        7.      In 2022, the Debtor became one of the only domestic producers of nickel silver

alloys. This extremely durable metal can be extruded by the Debtor into high quality elevator sills.

The Debtor has perfected this process of manufacturing these sills after much trial and error over

the past several years and is currently capable of producing this higher margin generic and custom

designed product in either bronze or nickel silver and in standard 7, 8, 9 and 10-foot lengths or in

any other custom length.

        8.      The Debtor was formed in September 2003 by IAT Reinsurance Company

(“IAT”) for purposes of bidding on the assets of Chicago Extruded Metals Company in a Section

363 sale under the United States Bankruptcy Code. The Debtor was the successful bidder at that

sale. IAT retained sole ownership of the Debtor through December 18, 2020, when it sold 100%

of its membership interests in the Debtor to CXM Investments LLC (“CXMI”), the current sole

member of the Debtor, for $5,000 cash plus an option to purchase 15% of the membership interests

in CXMI within the next 10 years for $10,000. At the time of that transfer, IAT forgave $16 million

in loan advances to the Debtor plus all interest accrued thereon. CXMI’s initial capital contribution

into the Debtor totaled $200,000. The purchase option in favor of IAT was never exercised.

        9.      The Debtor is the only manufacturer of bronze products in the United States, with

its competition being exclusively from imported products. The Debtor currently employs

approximately 55 union workers and 25 salaried employees. The union workers are members of

the United Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied Industrial and

Service Workers International Union Local 7-00717.

        10.     The Debtor’s Chief Executive Officer is Patrick Balson, who has served in that

role since the Debtor’s formation in 2003. Mr. Balson controls 79.5% of CXMI and is the sole

manager of both the Debtor and CXMI.



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         B.     Financing Prior to the Chapter 11 Case

        5.      On February 17, 2021, the Debtor entered into a “Loan and Security Agreement”

(the “Prepetition NELI LSA”) with the Lender. The Prepetition NELI LSA was amended seven

times through November 16, 2023. The seventh amendment includes a forbearance agreement on

account of the Debtor’s material defaults under the Prepetition NELI LSA. The forbearance

agreement was further twice extended through March 31, 2024 and has expired by its terms.

        6.      The Debtor’s primary tangible assets as of the filing date are approximately

$550,000 of accounts receivable and $2.2 million of inventory. The net book value of the Debtor’s

machinery and equipment is $3.6 million.

        7.      In addition to the approximately $2.1 million due under the Neli LSA, the Debtor

owes $1,752,339.50 million to Tramec, LLC the Stalking Horse Bidder (defined below) on account

of unfulfilled purchase orders that were paid in advance since December 2023. These advances are

subject to a perfected security interest in favor of the Stalking Horse Bidder. The advances by the

Stalking Horse Bidder. The Debtor owes approximately $9 million to holders of unsecured claims.

        8.      The Debtor’s shortage of working capital and significant past due balances owed

vendors has resulted in vendor product being supplied to the Debtor only if paid cash in advance.

Currently, the Debtor lacks sufficient working capital availability to purchase the necessary raw

materials needed to reach a breakeven sales level of approximately $3 million per month.

         C.     Need for Post-Petition Financing

        9.      The Debtor requires immediate access to Post-Petition Financing and use of cash

collateral, as that term is defined under Section 363 of the Bankruptcy Code (“Cash Collateral”)

pursuant to Section 364 of the Bankruptcy Code and Fed. R. Bankr. P. 4001. In the absence of this

immediate access, the Debtor will be unable to continue operating its business, causing immediate



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and irreparable loss or damage to the Debtor’s estate, to the detriment of the Debtor, its creditors,

and other parties in interest. The Debtor does not have sufficient unrestricted cash and other

financing available to operate its business, maintain the estate’s property, and administer the

Chapter 11 Case with a view toward a going-concern sale of substantially all of the Debtor’s assets,

absent the relief provided in this Motion.

           10.   The use of Cash Collateral alone would be insufficient to meet the Debtor’s post-

petition operating needs. Due to the Debtor’s overall precarious financial position, the Debtor is

unable to obtain (1) adequate unsecured credit allowable under Sections 503(b)(1) or 364(c)(1) of

the Bankruptcy Code as an ordinary administrative expense, (2) unsecured credit allowable under

Section 364(a) or (b) of the Bankruptcy Code, (3) unsecured credit entitled to priority under

Section 364(c)(1) of the Bankruptcy Code, or (4) adequate secured credit under Section 364(c)(2),

(c)(3) or (d)(1), from any source other than the Lender that would be sufficient to enable the Debtor

to continue its business operations. The only feasible source of secured credit available to the

Debtor is the Post-Petition Financing. The Debtor requires the Post-Petition Financing to satisfy

its immediate critical post-petition liquidity needs.

    III.   RELIEF REQUESTED

           A.    Interim Post-Petition Financing

           11.   By this Motion, the Debtor requests the entry of an interim order substantially in

the proposed form attached hereto (the “Interim Order”), approving the agreement of the Lender

to advance post-petition funds to the Debtor in an amount not to exceed $3,500,000 (the “Interim

Post-Petition Financing”). The Interim Post-Petition Financing would be governed by: (a) that

certain Secured Super-Priority Post-Petition Credit Agreement between the Debtor and the Lender




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(the “DIP Credit Agreement”) attached hereto as Exhibit A to the Interim Order and incorporated

herein by reference; and (b) the Interim Order. 2

        12.     The Debtor requests authority to use the Interim Post-Petition Financing and/or

any Cash Collateral pursuant to the budget (the “Initial Budget”) attached hereto as Exhibit B to

the Interim Order and incorporated herein by reference, from the date of the Interim Order through

the date of the entry of a Final Order (as hereafter defined), as more fully set forth in the Interim

Order (the “Interim Period”).

         B.     Post-Petition Financing Beyond the Interim Period

        13.     The Debtor further requests the entry of a final financing order (the “Final Order”)

in form and substance acceptable to the Debtor and the Lender, authorizing continued Post-Petition

Financing through at least the week ending November 4, 2024, to be considered at a final hearing

to be scheduled by the Court.

        C.      Budget for Post-Petition Financing

        14.     The Initial Budget sets forth all projected cash receipts, sales, and cash

disbursements (by line item) on a weekly basis for the time period from the Petition Date through

and including the date this Court enters the Final Order. The Initial Budget may be modified or

supplemented from time to time by additional budgets (covering any time period covered by a

prior budget or covering additional time periods) to which the Lender and the Debtor agree in its

respective discretion (the “Supplemental Approved Budgets”).




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     The Interim Order provides that in the event of any inconsistency between the DIP Credit
     Agreement and the Interim Order, the Interim Order will control.

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          D.       Negotiations in Good Faith

          15.      Prior to the filing of the Motion, the Lender and the Debtor conducted lengthy,

good-faith negotiations with respect to the terms and conditions of the DIP Credit Agreement, the

Interim Order, and the Initial Budget.

          E.       Final Hearing

          16.      The Debtor further requests that the Court set a final hearing on the Motion

pursuant to Fed. R. Bankr. P. 4001(c)(2), to consider the entry of the Final Order.

IV.       FED. R. BANKR. P. 4001(c)(1)(B) AND BANKR. N.D. ILL. L.R. 4001-2
          DISCLOSURES 3

           8.      The following disclosures are made pursuant to Fed. R. Bankr. P. 4001(c)(1)(B)

    with respect to the terms of the Post-Petition Financing and/or the impact of the relief sought by

    this Motion:

                    a.     Material Repayment Terms of Post-Petition Financing. The aggregate
           Post-Petition Financing under the DIP Credit Agreement shall at no time exceed the
           lesser of (1) $3,500,000 or (2) the sum of (w) the principal amount owing under this
           Agreement, plus (x) all postpetition interest and fees paid under this Agreement, plus (y)
           all interest and fees paid to Lender as adequate protection payments under the Interim
           Financing Order and the Final Financing Order, plus (z) the difference, if positive, when
           (i) the Prepetition Revolver Balance plus the principal amount owing under this
           Agreement is subtracted from (ii) the Borrowing Base. (DIP Credit Agreement, ¶
           1.1.1.A.1, Credit Limit). The Post-Petition Financing will bear interest at the Prime Rate
           in effect from time to time plus 1.75% per annum, accruing daily and payable monthly,
           provided that during the existence of any default under the Post-Petition Financing that
           such interest shall be increased by an additional four percent (4%). (DIP Credit
           Agreement, ¶ 1.4). The Lender may terminate the Post-Petition Financing as a result of
           certain enumerated “Events of Default” stated in the DIP Credit Agreement and the
           Interim Order, subject to notice and cure rights and the right to challenge whether a
           default occurred. (DIP Credit Agreement, ¶¶ 6, 7; Interim Order ¶¶ 6, 11(b)). The Post-
           Petition Financing shall be repaid through all cash receipts and the net proceeds of
           Section 363 sales being conducted in the Chapter 11 Case before repayment of any of

3
  References herein to the terms of the Post-Petition Financing, the DIP Credit Agreement or the
Interim Order are merely a summary, and to the extent of any conflict between the summaries
contained herein and the DIP Credit Agreement or the Interim Order, those latter documents shall
control.

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        the Pre-Petition Obligations but subject to the prior payment or funding of the “Carve-
        Out” and “Approved Budget Expenses” (as defined below). (Interim Order ¶¶ 13, 15).
        In consideration of the Post-Petition Financing, the Lender shall receive a commitment
        fee of $70,000.00, payable upon termination of the Post-Petition Financing. (DIP Credit
        Agreement, ¶ 1.5; Interim Order ¶ 5).

                b.      Grant of Priority or Liens under § 364 for Post-Petition Financing. Upon
        entry of the Final Order, the Lender will receive post-petition priming liens and security
        interests (the “DIP Liens”) on substantially all of the assets and properties of the Debtor,
        to secure the Post-Petition Financing (collectively, the “DIP Collateral”). (DIP Credit
        Agreement, ¶ 8; Interim Order ¶ 7). Under the DIP Credit Agreement and the Interim
        Order, the DIP Liens exclude avoidance actions arising under chapter 5 of the
        Bankruptcy Code or the proceeds thereof (the “Avoidance Actions”). Id. The DIP Liens
        are subject to the Carve-Out (defined below), and the Approved Budget Expenses.
        (Interim Order ¶ 13(a)). Upon entry of the Final Order, all obligations under the Post-
        Petition Financing shall also constitute allowed super-priority claims under Section
        364(c)(1) of the Bankruptcy Code (the “Superpriority Claim”). Under the Interim Order,
        any Superpriority Claim shall not be payable from Avoidance Actions. Interim Order ¶
        7(b). The Superpriority Claim shall be subordinate to the following (the collectively: (i)
        the carve-out for fees required to be paid pursuant to 28 U.S.C. § 1930(a)(6), fees payable
        to the Clerk of the Bankruptcy Court, and professional fees (the “Carve-Out”) (Interim
        Order ¶¶ 7(b), 13(a)); and (ii) the carve-out for all other expenses under the approved
        budget(s) (the “Approved Budget Expenses”) (Interim Order ¶¶ 7(b), 15).

                c.      Adequate Protection. As adequate protection for the Lender’s consent to
        the use of Cash Collateral, the Pre-Petition Obligations shall bear interest at an annual
        rate equal to the WSJ Prime Rate in effect from time to time plus 1.75% per annum,
        accruing daily and payable monthly, and the Lender is granted valid, binding, continuing,
        enforceable, fully perfected, first-priority replacement liens on and a senior security
        interest in and to all of the DIP Collateral, subject only to the Carve-Out, the Approved
        Budget Expenses and the DIP Liens, for any diminution in the value of the Lender’s
        interest in the Pre-Petition Collateral resulting from the sale, lease, or use of the Pre-
        Petition Collateral from and after the Petition Date, other than the priming of the Pre-
        Petition Collateral by the DIP Collateral. (Interim Order ¶ 8).

                d.      Validity of Pre-Petition Obligations and Pre-Petition Collateral. The
        Debtor stipulates to the validity of the Pre-Petition Obligations, to the validity of the Pre-
        Petition Loan Documents and to the validity and first priority of the liens in the Pre-
        Petition Collateral to secure the Pre-Petition Obligations. (Interim Order, Recital C(i-ii)).

                e.      Automatic Stay Modification. The Interim Order provides for the
        modification of the automatic stay upon the Post-Petition Termination Date but subject
        to notice and cure rights and the right to challenge the occurrence of a post-petition
        default. (Interim Order ¶¶ 6, 11(b)).




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                    f.      No Plan of Reorganization Deadlines. The Interim Order does not seek
           relief to establish deadlines for filing a plan or disclosure statement.

                   g.       Certain Waivers in Interim Order. The Interim Order waives certain
           perfection requirements that may exist under applicable non-bankruptcy law pertaining
           to the priority, perfection and/or validity of the DIP Liens and the Adequate Protection
           Liens. (Interim Order ¶ 9).

                   h.     Deadlines to Challenge Pre-Petition Obligations or Liens. The ability to
           challenge the validity, perfection and amount of the liens or claims of the Lender or to
           otherwise assert any claims against such parties shall be forever discharged and released
           if such challenge within 60 days of the later of the Petition Date or such later date as has
           been ordered by the Court upon a finding of exceptional circumstances warranting n
           extension beyond 60 days. (Interim Order ¶ 25).

                 i.      Indemnification of Lender. The Interim Order does not include any
           indemnification provisions.

                   j.     No § 506(c) Waiver. The Interim Order does not include a waiver of any
           rights under 11 U.S.C. § 506(c) with respect to the Pre-Petition Obligations, the DIP
           Obligations, or the Collateral.

                   k.      No Liens on Avoidance Actions. The Interim Order excludes any liens
           on or recovery on any Superiority Claim from Avoidance Actions or any proceeds
           thereof. (Interim Order ¶ 7).

           9.      To the extent not otherwise already disclosed herein, the following are additional

    disclosures required by Bankr. N.D. Ill. L.R. 4001-2(A)(2) of certain terms to be contained

    subject to further negotiation in the Interim Order or the DIP Credit Agreement:

                   a.    Cross-Collateralization. Other than with respect to the adequate
           protection described above, the Pre-Petition Obligations are not secured by the DIP
           Collateral.

                   b.     Roll-Up. All proceeds of Pre-Petition Collateral will be used to pay, in
           order: (i) payment of any DIP Obligations; and (ii) payment of any Pre-Petition
           Obligations. The Interim Order does not deem the Pre-Petition Obligations to be Post-
           Petition debt or use the Post-Petition Financing to pay part or all of the Pre-Petition
           Obligations, other than as provided in 11 U.S.C. § 552(b). (Interim Order ¶¶ 15, 17).

                  c.      Carve-Out Limitations. The Interim Order does not provide for different
           treatment of professionals relative to one another or limit a committee counsel’s use of
           a professional fee carve-out, except that no portion of the Carve-Out, the Obligations,
           Cash Collateral, Pre-Petition Collateral or DIP Collateral, may be used to contest in any


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           manner, or raise any defenses to, the amount, validity, perfection, priority, extent or
           enforceability of the Pre-Petition Obligations or Post-Petition Obligations or the liens
           securing the Pre-Petition Obligations or Post-Petition Obligations, or to prosecute or
           assert any claims or causes of action against the Lender. (Interim Order ¶ 13(b)).

                  d.      Non-Consensual Priming Liens. The Interim Order does not prime any
           secured liens to the extent that such liens are senior to the Pre-Petition Liens under
           applicable law as of the Petition Date. (Interim Order ¶ 7).

                   e.      No Lender Liability Declaration. The Interim Order contains a
           declaration that the Post-Petition Financing shall not create liability of the Lender to any
           third parties as a joint venturer with the Debtor. (Interim Order ¶ 24).

                   f.     Sale Milestones. The DIP Credit Agreement contains certain milestones
           in the Chapter 11 Case related to the sale of substantially all of the Debtor’s assets as a
           going concern. The failure to achieve the milestone constitutes a default under the Post-
           Petition Financing which is subject to an automatic five business day cure period. (DIP
           Credit Agreement, ¶ 4.10; Interim Order ¶ 6(xiv)).

           10.       Pursuant to Local Bankruptcy Rule 4001-(2)(A)(3) and (A)(4), and to the extent

    not otherwise described herein, the following is a summary of other essential provisions of the

    Interim Order:

                   a.     Use of Post-Petition Financing and the Budget. The proceeds of the Post-
           Petition Financing shall be used exclusively for the expenditures set forth in the Initial
           Budget attached to the Interim Order as Exhibit B. (DIP Credit Agreement, ¶ 5.6; Interim
           Order ¶ 15). Under the DIP Credit Agreement, the Initial Budget will be subject to a
           Permitted Variance. (DIP Credit Agreement, ¶ 5.7; Interim Order ¶ 15).

                   b.      Release. The Interim Order provides that, conditioned upon entry of a
           Final Order and subject to the Challenge Period under ¶ 25(a) thereof, the Debtor and its
           estate release the Lender from all claims and actions relating to Pre-Petition Obligations
           and the Pre-Petition Loan Documents. (Interim Order ¶ 23).

V.        APPLICABLE AUTHORITY AND JUSTIFICATION FOR RELIEF
          REQUESTED

          11.        If a debtor is unable to obtain unsecured credit allowable as an administrative

expense under Section 503(b)(1) of the Bankruptcy Code, then the court, after notice and a hearing,

may authorize the debtor to obtain credit or incur debt:




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                 (1) with priority over any or all administrative expenses of the kind
                 specified in section 503(b) or 507(b) of this title;

                 (2) secured by a lien on property of the estate that is not otherwise
                 subject to a lien; or

                 (3) secured by a junior lien on property of the estate that is subject
                 to a lien.

    11 U.S.C. § 364(c).

          12.     Further, if a debtor is unable to obtain credit otherwise, the debtor may obtain

credit secured by a senior or equal lien on property of the estate that is already subject to a lien,

commonly called a “priming lien.” 11 U.S.C. § 364(d).

          13.     Rule 4001(c)(2) governs the procedures for obtaining authorization to obtain post-

petition financing and provides, in relevant part:

                 The court may commence a final hearing on a motion for authority
                 to obtain credit no earlier than 14 days after service of the motion.
                 If the motion so requests, the court may conduct a hearing before
                 such 14-day period expires, but the court may authorize the
                 obtaining of credit only to the extent necessary to avoid immediate
                 and irreparable harm to the estate pending a final hearing.

Fed. R. Bankr. P. 4001(c). Accordingly, the Court is authorized to grant the relief requested herein.

          14.     The terms and provisions of the Post-Petition Financing have been negotiated at

arms’ length and in good faith. In addition, the terms and provisions of the Post-Petition Financing

are fair and reasonable under the circumstances and reflect the most favorable terms upon which

the Debtor could obtain the needed post-petition financing.

          15.     As described in the Jenkins Declaration, the Debtor, having determined that

financing was available only under Section 364(c) and (d) of the Bankruptcy Code from the

Lender, negotiated the Post-Petition Financing with the Lender on the most favorable terms upon

which the Debtor could reasonably obtain the needed financing. See Jenkins Declaration ¶ 32.



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          16.       If the obtaining of post-petition financing does not run afoul of the provisions of

and policies underlying the Bankruptcy Code, courts typically grant a debtor considerable

deference in acting in accordance with its business judgment. See, e.g., In re AMR Corp., 485 B.R.

279, 287 (Bankr. S.D.N.Y. 2013) (“In determining whether to approve a debtor’s requests under

Section 364, a Court must examine whether the relief requested is an appropriate exercise of the

debtor’s business judgment.”); In re Olde Prairie Block Owner, LLC, 448 B.R. 482, 492 (Bankr.

N.D. Ill. 2011) (observing that while Section 364 does not impose a specific standard, the debtor’s

eventual need to use the borrowed funds under Section 363 requires an “articulated business

justification”).

            17.     As set forth in the Jenkins Declaration, the Post-Petition Financing provides

    significant additional liquidity to the Debtor and thus will enable the Debtor, among other things,

    to maintain the continuity of its operations and maximize the value of its business and properties.

    Such financing is the sole means of preserving the Debtor, its business, and its assets as a going

    concern.

            18.     The Debtor believes that the approval of the Post-Petition Financing is in the best

    interests of its estate, its creditors, and all parties-in-interest and requests that the Court approve

    the Interim Order and, after the final hearing, enter the Final Order approving the Post-Petition

    Financing.

VI.         NOTICE OF THE MOTION

            19.     Notice of the filing of this Motion and the hearing scheduled therefor has been

    provided by CM/ECF or overnight delivery (or in lieu thereof and with the express written

    consent of the receiving party, by email delivery) to: (a) the Office of the United States Trustee

    for Region 11; (b) each of the Debtor’s 20 largest unsecured creditors listed in the Debtor’s



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    filing pursuant to Bankruptcy Rule 1007(d); (c) counsel to the Lender and to Tramec Sloan

    LLC, the Debtor’s senior and junior secured lenders; and (d) all other parties who have requested

    service of all filings via the Court’s CM/ECF system. In light of the nature of the relief

    requested, the Debtor submits that no other or further notice is required.

           20.     Given that the relief requested in the Motion is critical to the Debtor’s operations,

    that such relief is only being sought on an interim basis at the emergency hearing on the Motion,

    and that the Debtor would suffer irreparable harm absent such relief, the Debtor requests that

    the Court deem the limited notice provided as sufficient under Bankr. N.D. Ill. L.R. 9013-1.

          WHEREFORE, the Debtor respectfully requests this Court enter the proposed Interim

Order approving the Post-Petition Financing, set a final hearing to consider entry of the Final Order

approving the Post-Petition Financing, and grant such other and further relief as is just and proper.

Dated: August 12, 2024                           Respectfully Submitted,

                                                 BERKSHIRE INVESTMENTS, LLC

                                                 By: /s/ Steven R. Jakubowski
                                                    One of Its Attorneys

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